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                                      STATE COLLECTION SERVICE, INC.
                                  6
                                  7
                                  8                    UNITED STATES DISTRICT COURT
                                  9                  CENTRAL DISTRICT OF CALIFORNIA
                                 10
                                 11   DAVID VACCARO,                           CASE NO.
                                                                               [Los Angeles County Superior
2211 Michelson Drive Suite 400




                                 12                       Plaintiff,           Court Case No. BC636929]
     Gordon & Rees LLP




                                 13         vs.
      Irvine, CA 92612




                                                                               NOTICE OF LODGMENT OF
                                 14   STATE COLLECTION SERVICES, INC.;         STATE COURT PLEADINGS
                                      and DOES 1 through 50, inclusive,
                                 15                                            [Filed concurrently with Notice of
                                                          Defendant.           Removal and Civil Case Cover
                                 16                                            Sheet]
                                 17                                            Complaint filed: October 11,
                                                                               2016
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                                                    NOTICE OF LODGMENT OF STATE COURT PLEADINGS
                 Case 2:16-cv-08632-MWF-MRW Document 1-1 Filed 11/18/16 Page 2 of 16 Page ID #:20



                                  1         TO THIS HONORABLE COURT:
                                  2         Pursuant to §1446(a), defendant State Collection Service, Inc. (“SCS”)
                                  3   hereby lodges true and correct copies of all process, pleadings and orders served by
                                  4   or on SCS in the Superior Court of the State of California for the County of Los
                                  5   Angeles, Case No. BC636929.
                                  6
                                      Exhibit                      Title                                 Party
                                  7     1.                       Complaint                              Plaintiff
                                  8
                                  9
                                 10   Dated: November 18, 2016                  GORDON & REES LLP
                                 11
                                                                                By:     s/Sean P. Flynn
2211 Michelson Drive Suite 400




                                 12
                                                                                      Sean P. Flynn
     Gordon & Rees LLP




                                 13                                                   Attorneys for Defendant
      Irvine, CA 92612




                                                                                      State Collection Service, Inc.
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                                                         NOTICE OF LODGMENT OF STATE COURT PLEADINGS
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                         EXHIBIT 1
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